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                       UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                             EASTERN DIVISION



 CAROLYN R.,                              No. ED CV 20-02180-DFM

          Plaintiff,                      JUDGMENT

             v.

 KILOLO KIJAKAZI, Acting
 Commissioner of Social Security,

          Defendant.



      In accordance with the Memorandum Opinion and Order filed herewith,
      IT IS HEREBY ADJUDGED that the decision of the Commissioner of
Social Security is reversed and this matter is remanded for further
administrative proceedings under sentence four of 42 U.S.C. § 405(g).



 Date: November 9, 2021                    ___________________________
                                           DOUGLAS F. McCORMICK
                                           United States Magistrate Judge
